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Torey Deberry

ORDER REFUNDING CASH APPEARANCE BOND

It appears to the Court that the above-named defendant on the 16th day of March, 2004,
did cause a ten thousand dollar ($10,000) appearance bond to be posted on his behalf by posting
10% or $1000 in cash. Said $1000 was receipted in the name of Kelly Pirtle, receipt #127080,
having been deposited in the Registry Fund of this Court.

It now appears to the Court that the defendant has complied with the requirements of said
bond and orders of this Court.

It is therefore ordered that the above-named defendant's appearance bond be cancelled and
discharged, and the Clerk is directed to issue a check in the sum of one thousand dollars ($1000),
payable to Kelly Pirtle, P.O. Box 751552, Memphis, TN, 38175, in full refund of the cash

appearance bond posted herein.

Approved: ()d/pm b - M

JAM D. TODD

 

 

Robert R. Di Trolio, Clerk of Court UNI D STATES DISTRICT JUDGE
:C ;)l )l($LJ\Q§\ DATE; _Q‘Y Q/Q/ML QM\S"
'Deputy Clerk

This document entered on the docket sheet in compliance
with Ru1e 55 and/or 32(b) FRch on 05 ' 09 'OS

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 112 in
case 1:03-CR-10086 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

Clayton F. Mayo

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

